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 2
                     UNITED STATES BANKRUPTCY COURT
 3                   EASTERN DISTRICT OF WASHINGTON

 4    In re                                            Chapter 11
      1 MIN, LLC; HOTEL AT SOUTHPORT,                  Lead Case No. 24-01519
 5    LLC; and TWELFTH FLOOR, LLC,
                                                       (Jointly Administered)
                               Debtors.
 6
                                                       Adv. Proc. No. 25-80007
 7    LAN CAI, SHUJIE CHEN, TIANRAN
      CHEN, WEIJUN CHEN, JIE CHU,          PROTECTIVE ORDER
 8    ZHAOJUN CONG, HE CUI, JIANYING
      DING, JICHUN DU, QING DU, JIEYING
      FENG, YUPENG GAO, YIRAN HAN,
 9    JINYANG HU, NAIXIN HU, XIAO HUANG,
      JUNMEI JIN, XIN MENG, WEIHONG LU,
      YUANYUAN MA, MIN PAN, LEI PEI, HAO
10    QI, XIAO RONG, JUAN SHAO, HUI
      WANG, JINGYI WANG, YUQUAN WANG,
11    ZIDONG WANG, RONGRONG WU,
      ZHAOHUI XU, QI XU, JIE YAN, KE
      YANG, QIN YANG, HONGYUN YU,
12    SHUXIAN ZENG, XIAOHONG ZHANG,
      YING ZHAO, MINBO ZHOU, NAN ZHOU,
      HUIQING ZHU, ZILING ZENG, LUYI
13    ZHANG, JUNDI LIANG, TAO LI, YUN CAI,
      HONGLIANG TANG, JIE TANG,
14    WENLUNG CHEN, SHI ZHANG, JUN CHE,
      DAHE ZHANG, SHAN WAN, XIAOHONG
      SUN, YAN LYU A/K/A YAN LU, WENYAN
15    WANG, JIALIN TIAN, RUI TANG,
      XINHAN LIN, SIYU LIU, JIANYING
      MENG, PHUONG NGUYEN, YEQING PAN,
16    XUERONG QI, QIANG WANG, JUNLI
      WEI, YUNFEI WU, HONGYING YU,
17    DONGLI ZHANG.
      Plaintiffs,
18
      v.
19    HOTEL AT SOUTHPORT, LLC, TWELFTH
      FLOOR, LLC, 1 MIN, LLC.
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      ORDER GRANTING PLAINTIFFS’ MOTION FOR
      PROTECTIVE ORDER
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 1    Defendants,
      and
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      WF CREL 2020 GRANTOR TRUST,
 3    Intervenor-Defendant.

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 5          BEFORE THE COURT is Plaintiffs’ Motion for Protective Order (the
 6    “Motion”) filed by Plaintiffs in the above-captioned matter [ECF No. ___].
 7    Having considered the Motion, IT IS HEREBY ORDERED:
 8          1. The Motion is GRANTED.
 9          2. All depositions in the above-captioned matter may be conducted
10             either via video technology in accordance with Federal Rule of Civil
11             Procedure 30(b)(4).
12          3. The aggregate number of depositions of all Plaintiffs in this matter
13             shall be limited to ten (10).
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15    /// END OF ORDER///
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      ORDER GRANTING PLAINTIFFS’ MOTION FOR
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